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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

                                    )
SECURITIES AND EXCHANGE             )
COMMISSION,                         )
                                    )
                  Plaintiff,        )
                                    )               DISTRICT COURT FOR THE
                                    )               DISTRICT OF NEW JERSEY
v.                                  )               DNJ Case No. 3:21-cv-12971-ZNQ-RLS
                                    )
PRINCETON ALTERNATIVE               )
FUNDING, LLC, MICROBILT             )
CORPORATION, PHILIP N. BURGESS, )
JR., WALTER WOJCIECHOWSKI, and      )
JOHN COOK, JR.                      )
                                    )
                  Defendants.       )
____________________________________)

            DEFENDANTS’ MOTION TO COMPEL COMPLIANCE OF
         LAWRENCE WEST WITH THIRD PARTY DOCUMENT SUBPOENA
           FOR MATTER ARISING IN THE DISTRICT OF NEW JERSEY

       Pursuant to Rules 37 and Rule 45 of the Federal Rules of Civil Procedure and the Local

Rules of this Court, Defendants Princeton Alternative Funding, LLC, MicroBilt Corporation, Philip

N. Burgess, Jr., Walter Wojciechowski, and John Cook, Jr. (“Defendants”), by and through

counsel, moves and requests that the Court compel third party Lawrence West (“West”) to produce

documents and information in compliance with the third party subpoena duces tecum (the

“Document Subpoena”). Defendants respectfully request that the Court, pursuant to its authority

under F.R.C.P. 45(f), refer the matter back to the District of New Jersey for resolution by the

Federal Magistrate Judge that has been managing all discovery-related litigation in this matter.

Should the Court retain jurisdiction, Defendants respectfully ask this Court to order West to

produce all documents responsive to Defendants’ requests.




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        The subpoena in question was issued within the jurisdiction of the Federal District Court

for the District of Columbia; however, the underlying matter arises out of the District of New

Jersey. The matter has been stayed pending a judicial referral to mediation; however, discovery is

expressly permitted under the terms of the Order in aid of mediation. See Exhibit A (Order of

Court). This subpoena is issued pursuant to the authority granted to the parties under the Order,

and without objection from the SEC.

        As set forth at length in the brief submitted in support of this Motion, on or about October

3, 2022, the Maryland Department of Taxation served West with Defendants’ Document

Subpoena. The Document Subpoena contained seven narrowly tailored categories of document

requests. At issue is request number 6, which provides:

           Any and all documents concerning communications between West and Robert Farrell
           and/or Robert Szostak in connection with Ranger, Princeton Alternative Funding,
           LLC, MicroBilt Corporation, Philip Burgess, Walter Wojciechowski and/or John
           Cook, Jr.

       West as asserted that the documents responsive to Request 6 are subject to attorney-client

privilege between him, Robert Farrell (“Farrell”) and Robert Szostak (“Szostak”).

       On or about January 6, 2023, West made an initial production of responsive documents to

Defendants’ Document Subpoena. West did not include responsive documents to Request 6 of the

Defendants’ request in the initial production. West continues to hold the position that these

documents and communications are subject to attorney-client privilege. Counsel for Defendants

has been unsuccessful in their attempts to resolve the discovery dispute concerning West’s

production of responsive documents to Request 6 of the Document Subpoena.

       West’s position that responsive documents to Defendants’ request are subject to the

attorney-client privilege is without merit. There is no attorney-client privilege to assert. West was


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not representing Farrell or Szostak in a legal capacity, nor did they believe that West was their

legal counsel. Farrell and Szostak maintained the understanding that West was their consultant in

their whistleblower claim against some of the Defendants.

       For the foregoing reasons and those set forth in the accompanying memorandum, this Court

should refer the matter back to the District of New Jersey for resolution by the Federal Magistrate

Judge that has been managing all discovery-related litigation in this matter. Should the Court

retain jurisdiction, Defendants request that the Court grant Defendants’ Motion to Compel and

enter an order requiring Lawrence West to comply with the third-party subpoena and to produce

documents in accordance with the subpoena.


DATED: March 17, 2023                        ARMSTRONG TEASDALE LLP

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                                              PHILIP N. BURGESS, JR., WALTER
                                              WOJCIECHOWSKI, AND JOHN COOK, JR.




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